  Case: 3:17-cv-00151-WHR Doc #: 63 Filed: 11/04/20 Page: 1 of 1 PAGEID #: 1858




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION AT DAYTON


DAVID CLARK,

                      Petitioner,               :   Case No. 3:17-cv-151

        - vs -                                      District Judge Walter H. Rice


TOM SCHEWITZER,
 Warden, Madison Correctional Institution,

                                                :
                      Respondent.


                         ORDER VACATING REFERENCE


        This habeas corpus case was automatically referred to Magistrate Judge Michael R. Merz

upon filing, pursuant to General Order Day 13-01.        That reference is hereby VACATED.

Magistrate Judge Merz shall have no further responsibility for matters in this case, including the

pending Motion for Discovery (ECF No. 53) unless and until a further specific order of reference

is entered.



           2020.
November ___,
                                                                                                    WSSHU-XGJH
                                                                   ________________________    5LFHDXWKRUL]DWLRQ
                                                                                               DIWHUKLVUHYLHZ
                                                                          Walter H. Rice
                                                                    United States District Judge




                                                1
